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                                    UNITED STATES DISTRICT COURT
                                              DISTRICT OF MAINE
FRANK INMAN,                                            )
                                                        )
                  Plaintiff                             )
                                                        )
         v.                                             )         2:15-cv-00267-JAW
                                                        )
LARRY AUSTIN, et al.,                                   )
                                                        )
                  Defendants                            )

                            RECOMMENDED DECISION ON
                     DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

         In this action, Plaintiff Frank Inman alleges that based on actions taken by Defendants

Larry Austin, Joseph Fitzpatrick, Scott Landry, Scott McCaffery, Luke Monahan, and Jerry Scott,

and in retaliation for his constitutionally protected speech activity, Plaintiff was transferred from

a minimum security facility to a medium security facility.1 Plaintiff also asserts state law claims

for defamation and infliction of emotional distress.

         The matter is before the Court on Defendants’ Motion for Summary Judgment, through

which motion Defendants assert, inter alia, that Plaintiff failed to exhaust administrative remedies.

(ECF No. 50.) Plaintiff did not file an opposition to the motion.

         Following a review of the pleadings and summary judgment filings, I recommend the Court

grant Defendants’ motion as to Plaintiff’s federal claim, and dismiss without prejudice Plaintiff’s

state law claims.




1
 Plaintiff’s retaliation claim is the only claim asserted in his complaint that survived preliminary screening, for reasons
set forth in the Recommended Decision dated August 24, 2015 (ECF No. 8), adopted by the Court on December 2,
2015 (ECF No. 24).
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                                                       FACTS 2

         According to Plaintiff, Defendants transferred him from a minimum security facility to a

medium security facility because in August 2014, he wrote letters to officials and involved an

attorney in a dispute over the mental health treatment he was receiving from the Department of

Corrections. (Complaint, ECF No. 1, PageID ## 5 – 6.) The Court has construed this claim as a

First Amendment retaliation claim actionable under 42 U.S.C. § 1983.

         The Maine Department of Corrections has a prisoner grievance policy that allows prisoners

to “…request administrative review of any policy, procedure, practice, condition of confinement,

action, decision, or event that directly affects [the prisoner]…” The procedure covers complaints

of retaliatory conduct by administrators and staff. (Defendants’ Statement of Material Facts

(DSMF) ¶ 1, ECF No. 51; Policy 29.1, Prisoner Grievances, ECF No. 51-2.) If an attempt to

achieve an informal resolution of the prisoner’s grievance is unsuccessful, the prisoner may file a

formal grievance with the grievance review officer. If the prisoner is not satisfied with the


2
     For purposes of summary judgment, the facts before the Court ordinarily are restricted to facts introduced by the
parties through their statements of material facts, which statements must be supported by citations to evidence of
record. The requirement that parties cite evidence of record is set forth both in Federal Rule of Civil Procedure 56(c)
and in District of Maine Local Rule 56(b) – (d). In addition, Local Rule 56 outlines the manner by which parties must
provide the Court with their factual statements and the evidence supporting the statements. Thus, a party seeking
summary judgment must file, in addition to its summary judgment motion, a supporting statement of material fact
setting forth each fact in a separately numbered paragraph, followed by a citation to evidence of record that supports
the factual statement. D. Me. Loc. R. 56(b), (f). A party opposing a motion for summary judgment must file an
opposing statement of material fact that admits, denies, or qualifies the factual statements made by the moving party.
D. Me. Loc. R. 56(c). Unless the statement is admitted, the opposing party must provide a citation to evidence of
record that supports the opposing statement. Id. If a party fails to respond to a statement of material facts, the moving
party’s factual statements “shall be deemed admitted.” D. Me. Loc. R. 56(f). In addition, pursuant to Local Rule 7(b),
a party is expected to file an objection to a motion if the party contests the motion, and if the party fails to file an
objection, the party is “deemed to have waived objection.”
     The Court, however, “may not automatically grant a motion for summary judgment simply because the opposing
party failed to comply with a local rule requiring a response within a certain number of days.” NEPSK, Inc. v. Town
of Houlton, 283 F.3d 1, 7 – 8 (1st Cir. 2002). Instead, the Court must assess whether the movant has shown “that
there is no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.
Civ. P. 56(a). In particular, when the Court has before it a verified complaint, the Court may consider the statements
contained therein when assessing whether a genuine issue of fact exists for trial. Clarke v. Blais, 473 F. Supp. 2d 124,
128 (D. Me. 2007).
     The facts set forth herein are derived principally from Defendants’ Statement of Material Facts (ECF No. 51), but
also include references to Plaintiff’s verified complaint and the exhibits attached thereto.


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response to the grievance, he may appeal that decision to the chief administrative officer of the

facility and ultimately to the Commissioner of the Department. 3 (DSMF ¶ 2.)

           During the time he was incarcerated at the Maine Correctional Center, Plaintiff filed seven

grievances. None of the grievances involved the alleged act of retaliation at issue in this case. (Id.

¶ 3.) Plaintiff did not file any grievances during the time he was incarcerated at the Charleston

Correctional Facility. (Id. ¶ 4.)

           In addition to its Prisoner Grievances Policy, the Department of Corrections has Policy

23.1, Classification System, which policy governs the classification and transfer of prisoners

among the various facilities in the system. The Classification System Policy allows a prisoner to

appeal a classification decision regarding transfer or custody level to the Director of Classification

and, ultimately, to the Commissioner. 4 (Id. ¶ 5; Policy 23.1, ECF No. 51-5.)




3
    The Grievance Policy reads in pertinent part:

           A prisoner may file a grievance with the appropriate facility Grievance Review Officer to request
           administrative review of any policy, procedure, practice, condition of confinement, sentence
           calculation (including, but not limited to, an issue with credit for detention time or awarding of
           deductions or good time), action, decision, or event that directly affects the prisoner, that the prisoner
           believes is in violation of his/her rights or is in violation of Departmental policies and procedures,
           and for which the prisoner believes a Departmental employee or contractor is responsible. A
           prisoner may not file a grievance regarding the following subjects, since there exists separate appeal
           procedures for these matters:

           a. Classification procedures and decisions including, but not limited to, a decision to place a prisoner
              on administrative segregation or protective custody status or a decision about custody level, a
              work assignment, participation in an institutional or community-based program, or transfer ….

(Policy 29.01, § VI.A.4, PageID ## 180 – 181.)
4
    The Classification System Policy reads in pertinent part:

           A prisoner may appeal a classification decision as to custody level or facility transfer to the Central
           Office Director of Classification, or designee, within five (5) working days of receiving the decision
           as recorded on the Prisoner Classification Action form (Attachment C).

(Policy 23.1, § I.1, PageID # 193.)


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           In August, 2014, Defendant McCaffery, the Classification Director, and then-Associate

Commissioner Cynthia Brann approved a request by Defendant Austin, who at that time was the

Director of the Charleston Correctional Facility (CCF), to transfer Plaintiff from CCF, which is a

minimum custody facility, to a more secure facility. Plaintiff’s custody level was changed at that

time from minimum to medium custody, and he was transferred to the Maine Correctional Center.

(DSMF ¶ 6.) Plaintiff did not appeal from that decision. (Id. ¶ 7.) 5

           Plaintiff attached to his complaint two client classification forms, one dated October 22,

2014, and another dated December 5, 2014, which forms reflect that on both dates, the

Department’s Classification Committee recommended a medium security classification. (ECF No.

1-2.) Plaintiff also filed exhibits which suggest that he engaged in classification-related appeal

activity in December of 2013 and in May, June, and July of 2014. (ECF No. 1-2, PageID ## 9 –

11.) Plaintiff, however, did not submit evidence that he filed an appeal from any classification

recommendation or decision made after August 2014 regarding his medium security classification.

           In connection with an attempt to amend his complaint on October 19, 2015, Plaintiff filed

numerous grievance-related exhibits regarding various matters that occurred in 2015. (ECF No.

16.) None of the grievances related to his transfer to a medium security facility. One document

filed by Plaintiff reveals that he received a minimum security classification in May of 2015. (ECF

No. 16-12.)

                                       SUMMARY JUDGMENT STANDARD

           “The court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). “After the moving party has presented evidence in support of its motion for summary



5
    Defendants’ seventh fact statement is apparently mislabeled as paragraph number 4.

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judgment, ‘the burden shifts to the nonmoving party, with respect to each issue on which he has

the burden of proof, to demonstrate that a trier of fact reasonably could find in his favor.’”

Woodward v. Emulex Corp., 714 F.3d 632, 637 (1st Cir. 2013) (quoting Hodgens v. Gen. Dynamics

Corp., 144 F.3d 151, 158 (1st Cir. 1998)).

       A court reviews the factual record in the light most favorable to the non-moving party,

resolving evidentiary conflicts and drawing reasonable inferences in the non-movant’s favor.

Perry v. Roy, 782 F.3d 73, 77 (1st Cir. 2015). If a court’s review of the record reveals evidence

sufficient to support findings in favor of the non-moving party on one or more of his claims, a

trial-worthy controversy exists and summary judgment must be denied as to any supported claim.

Id. (“The district court’s role is limited to assessing whether there exists evidence such that a

reasonable jury could return a verdict for the nonmoving party.” (internal quotation marks

omitted)). Unsupported claims are properly dismissed. Celotex Corp. v. Catrett, 477 U.S. 317,

323 – 24 (1986) (“One of the principal purposes of the summary judgment rule is to isolate and

dispose of factually unsupported claims or defenses.”).

                                             DISCUSSION

       Through their motion for summary judgment, Defendants assert that Plaintiff’s claims are

barred because Plaintiff failed to exhaust the available administrative remedies. (Motion at 3.)

Defendants otherwise argue that any state law claim for defamation or infliction of emotional

distress should be dismissed without prejudice on jurisdictional grounds. (Id. at 4.)

A.     Claims Under 42 U.S.C. § 1983 (Failure to Exhaust)

       Federal law requires a prisoner to exhaust the available administrative remedies before

initiating a lawsuit based on 42 U.S.C. § 1983. Specifically, “[n]o action shall be brought with

respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner



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confined in any jail, prison, or other correctional facility until such administrative remedies as are

available are exhausted.” 42 U.S.C. § 1997e(a); see also Jones v. Bock, 549 U.S. 199, 211 (2007)

(“There is no question that exhaustion is mandatory under the PLRA [Prison Litigation Reform

Act] and that unexhausted claims cannot be brought in court.”)

       The Supreme Court has held that § 1997e(a) requires “proper exhaustion” of a prisoner’s

administrative remedies. Woodford v. Ngo, 548 U.S. 81, 93 (2006). “Proper exhaustion demands

compliance with an agency’s deadlines and other critical procedural rules because no adjudicative

system can function effectively without imposing some orderly structure on the course of its

proceedings.” Id. at 90 – 91. “Compliance with prison grievance procedures … is all that is

required … to ‘properly exhaust.’” Jones, 549 U.S. at 218. “[I]t is the prison’s requirements, and

not the PLRA, that define the boundaries of proper exhaustion.” Id.

       A defendant may raise the § 1997e exhaustion requirement as an affirmative defense.

Jones, 549 U.S. at 216; see also Ramos v. Patnaude, 640 F.3d 485, 488 (1st Cir. 2011) (“The

Supreme Court made it plain … that exhaustion under § 1997e(a) is not a jurisdictional condition,

and has held it to be an affirmative defense.” (citing Jones, 549 U.S. at 212)). Because failure to

exhaust administrative remedies is an affirmative defense rather than a jurisdictional issue,

initially, Defendants bear the burden of proof. Jones, 549 U.S. at 216. To satisfy that burden,

Defendants must establish “that there was an available administrative remedy, and that the prisoner

did not exhaust that available remedy.” Albino v. Baca, 747 F.3d 1162, 1172 (9th Cir.) (en banc),

cert. denied sub nom. Scott v. Albino, 135 S. Ct. 403 (2014). Thereafter, Plaintiff must present

evidence that demonstrates “that there is something in his particular case that made the existing

and generally available administrative remedies effectively unavailable to him.” Id.




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       Here, Defendants have established that administrative remedies were available to Plaintiff.

In particular, Defendants have established the existence of an appeal procedure as part of the

Classification System Policy, and that if Plaintiff’s claim is governed by the Classification System

Policy, Plaintiff did not appeal in accordance with the Policy. Additionally, Defendants have

established the existence of an administrative grievance procedure within the Grievance Policy,

and that if Plaintiff’s claim is governed by the Grievance Policy, Plaintiff did not file a grievance

in accordance with the Policy.

       Because Defendants have established the existence of administrative remedies for the

claims asserted by Plaintiff, Plaintiff must demonstrate that the remedies were not available to him.

The record is devoid of any evidence from which one could reasonably conclude that the remedies

were “effectively unavailable” to Plaintiff. Id. Accordingly, Plaintiff’s § 1983 claim of retaliatory

transfer based on a post-August 2014 medium security classification decision is an unexhausted

claim barred by 42 U.S.C. § 1997e(a).

B.     State Law Claim

       In the Recommended Decision after an initial review of Plaintiff’s complaint (ECF No. 8),

the Court noted that Plaintiff asserts claims for defamation and infliction of emotional distress.

Defendants observe that the state law claims are not within the original jurisdiction of this Court

and argue that upon entry of judgment in Defendants’ favor on the § 1983 claim, the state law

claims should be dismissed without prejudice. Because Defendants are entitled to summary

judgment on Plaintiff’s federal claim, and because dismissal of the federal claim would occur well

in advance of trial, the Court should decline to exercise supplemental jurisdiction over Plaintiff’s

state law claims and dismiss any state law claims without prejudice. 28 U.S.C § 1367(c)(3);

Shuper v. Tri-Cty. Mental Health Servs., No. 2:14-CV-00476-GZS, 2014 WL 6893852, at *3 (D.



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Me. Dec. 4, 2014), appeal dismissed (1st Cir. May 4, 2015) (citing Keenan v. Int’l Ass’n of

Machinists & Aerospace Workers, 632 F. Supp. 2d 63, 72 (D. Me. 2009)).

                                           CONCLUSION

       Based on the foregoing analysis, I recommend the Court grant Defendants’ Motion for

Summary Judgment (ECF No. 50) on Plaintiff’s remaining federal claim, and enter judgment in

favor of Defendants on Plaintiff’s federal claim. I further recommend the Court dismiss Plaintiff’s

state claims without prejudice.

                                             NOTICE

           A party may file objections to those specified portions of a magistrate judge’s
       report or proposed findings or recommended decisions entered pursuant to 28
       U.S.C. § 636(b)(1)(B) for which de novo review by the district court is sought,
       together with a supporting memorandum, within fourteen (14) days of being served
       with a copy thereof. A responsive memorandum shall be filed within fourteen (14)
       days after the filing of the objection.

           Failure to file a timely objection shall constitute a waiver of the right to de novo
       review by the district court and to appeal the district court’s order.

                                               /s/ John C. Nivison
                                               U.S. Magistrate Judge

Dated this 30th day of June, 2016.




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